   Case 1:09-cr-00329-RJA-HBS    Document 877    Filed 07/20/20    Page 1 of 3




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,
                                                            09-CR-329-A
                                                              ORDER
      -v-

KASHIKA SPEED,

              Defendant.
___________________________________

      The July 17, 2020 Decision and Order of the Court at Docket Number

876 granted the motion of defendant Kashika Speed for compassionate

release to home incarceration pursuant to 18 U.S.C. § 3582(c)(1)(A)

subject to this further Order setting the conditions of his home

incarceration. Defendant Speed’s sentence has been modified to convert

the remaining term of imprisonment to a term of supervised release subject

to all the terms and conditions of supervised release set forth in the

Judgment at Docket Number 354 to begin immediately upon his release

from Federal Bureau of Prisons custody; and it is further

      ORDERED that beginning 14 days after his release from Federal

Bureau of Prisons custody, and until February 19, 2022, in addition to all

the terms and conditions of supervised release previously imposed, the

defendant shall confirm through United States Probation that his residence

                                      1
    Case 1:09-cr-00329-RJA-HBS   Document 877    Filed 07/20/20   Page 2 of 3




is acceptable to the Court, and he shall comply with the conditions of the

Location Monitoring Program (home incarceration component), wear an

electronic monitor, follow the monitoring procedures outlined in Probation

Form 61, and contribute to the cost of services rendered (co-payment); and

it is further

       ORDERED that under 18 U.S.C. § 3583, beginning February 20,

2022, the defendant’s previously imposed three-year term of supervised

release shall commence subject to the terms and conditions set forth in the

Judgment at Docket Number 354; and it is further

       ORDERED that the defendant shall contact the Western District of

New York, Supervisory United States Probation Officer John Taberski, at

716-362-5254, within 72 hours of his release; and it is further

       ORDERED that, due to the COVID-19 pandemic, upon returning to

the Western District of New York, the defendant must self quarantine for 14

days, must travel directly to the residence in the Western District of New

York where he proposes to live, and he may not make any stops other than

are necessary for fueling, food, or restroom facilities on his return home;

and it is finally




                                      2
   Case 1:09-cr-00329-RJA-HBS   Document 877    Filed 07/20/20   Page 3 of 3




     ORDERED that, even during the defendant’s 14-day period of self

quarantine, he shall advise his supervising United States Probation Officer

of any medical appointments he must attend with enough detail to allow

United States Probation to verify the appointment, that the medical

treatment providers are aware of the defendant’s status in self quarantine,

and the defendant’s attendance at the appointment.

     SO ORDERED.

Dated: July 20, 2020
       Buffalo, New York


                                     __s/Richard J. Arcara___
                                     HON. RICHARD J. ARCARA
                                      United States District Judge




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